        Case 3:21-cv-01525-OAW Document 77 Filed 09/07/23 Page 1 of 2




John G. Balestriere
Matthew W. Schmidt
BALESTRIERE FARIELLO
225 Broadway, 29th Floor
New York, New York 10007
Telephone: (212) 374-5401
Facsimile:     (212) 208-2613
john.balestriere@balestrierefariello.com
matthew.schmidt@balestrierefariello.com
Attorneys for Plaintiffs

Andrew B. Bowman
LAW OFFICES OF ANDREW B. BOWMAN
1804 Post Road East
Westport, Connecticut 06880
Telephone: (202) 259-0599
andrew@andrewbowmanlaw.com
Attorney for Plaintiffs


UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT


SIERRA STUBBS and GAVIN JACKSON,
                                                   Case No. 3:21-cv-01525
                          Plaintiffs,

           – against –                             JOINT STIPULATION OF
                                                   DISMISSAL PURSUANT TO
YALE UNIVERSITY,                                   FEDERAL RULE OF CIVIL
                                                   PROCEDURE 41
                          Defendant.




      IT IS HEREBY STIPULATED AND AGREED, that Plaintiffs Sierra Stubbs

(“Stubbs”) and Gavin Jackson (“Jackson”) by their attorneys, Balestriere Fariello, and

Defendant Yale University (“Yale”) by its attorneys, Wiggin and Dana LLP, hereby
         Case 3:21-cv-01525-OAW Document 77 Filed 09/07/23 Page 2 of 2




stipulate that Plaintiffs, hereby dismiss, with prejudice, all counts in the above-referenced

action in accordance with Fed. R. Civ. P. 41(a)(1)(A)(ii). The dismissal shall be effective

upon filing of this joint stipulation.

Respectfully submitted,                                  Dated: New York, New York
                                                               September 7, 2023


        /s/ Jonathan M. Freiman
 By: ______________________________            By: _______________________________
 Jonathan M. Freiman (ct24248)                 Andrew B. Bowman
 Paul A. Tuchmann (ct8018)                     LAW OFFICES OF ANDREW B.
 Wiggin and Dana LLP                           BOWMAN
 One Century Tower                             1804 Post Road East
 265 Church Street                             Westport, Connecticut 06880
 PO Box 1832                                   Telephone: (202) 259-0599
 New Haven, CT 06508-1832                      andrew@andrewbowmanlaw.com
 jfreiman@wiggin.com
 ptuchmann@wiggin.com                          John G. Balestriere
 Tel.: (203) 498-4400                          Matthew W. Schmidt
 Fax: (203) 782-2889                           BALESTRIERE FARIELLO
 Counsel for Defendant                         225 Broadway, 29th Floor
                                               New York, New York 10007
                                               Telephone: (212) 374-5401
                                               Facsimile: (212) 208-2613
                                               john.balestriere@balestrierefariello.com
                                               matthew.schmidt@balestrierefariello.com
                                               Attorneys for Plaintiffs
